                         IN THE DISTRICT COURT
                  FOR THE DISTRICT OF SOUTH CAROLINA
                          CHARLESTON DIVISION


CASE NO. 2:11-CV-1400-DCN

STEPHANIE FINNEY                                            PLAINTIFF

VS.                        MEMORANDUM OPINION
                                AND ORDER

LINCARE, INC.                                               DEFENDANT



      This matter is before the Court on Defendant Lincare,

Inc.’s Motion for Summary Judgment (Doc. 12), Defendant’s Motion

to Strike (Doc. 38), its related response1 (Doc. 40) and reply

(Doc. 43), and the parties’ supplemental filings (Docs. 37, 39).

The Court heard oral argument on the Motion for Summary Judgment

by telephone on March 29, 2012 and thereafter took the motion

under submission.     (Doc. 35).

      Having reviewed the matter further, the Court now issues

the following Memorandum Opinion and Order.           For the reasons

that follow, the Motion for Summary Judgment will be granted.

                   Factual and Procedural Background

      Defendant Lincare, Inc. (“Lincare”) is a medical supply

company providing oxygen and other respiratory therapy services


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  Included with this response was additional supplemental evidence, including
excerpts of deposition testimony. This evidence was filed beyond the date
set by the Court for supplemental filings. Accordingly, the Court will not
consider this evidence and, in any event, it does not change the Court’s
conclusions.
and medical equipment to patients.     Lincare acquires access to

patients with relevant medical needs through referrals by

doctors, hospital discharge planners, and clinical case

managers, and thus, its sales representatives establish

relationships with these medical professionals.

        Plaintiff Stephanie Finney (“Finney”) interviewed for a

sales representative position in February or early March 2010.

She originally learned of the position through a friend,

Michelle Lake, who had previously worked for Lincare as a sales

representative.    (Finney Depo. at 192).   After submitting an

application that reflected her prior sales experience, Finney

interviewed with Stephanie Filyaw (“Filyaw”), the Myrtle Beach

Center Manager, and then with Laurie Branham (“Branham”), the

Area Manager.

A.      The Interviews

        During the first interview, Filyaw informed Finney that her

base salary would be $24,000.    (Id. at 195).   Finney asked about

her territory and, according to Finney, Filyaw confirmed that

Finney would take over Michelle Lake’s territory.    (Id. at 196).

Filyaw also informed Finney that she would be reimbursed for her

mileage, which Finney assumed would be at the standard, federal

rate.    (Id. at 197).

        According to Finney, Filyaw provided her with a document

entitled “Lincare Benefit Plan and Summary for Acquisitions,”

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which stated that acquired employees would have health insurance

the first day of the month following the first date of

employment.    (Id. at 198-99).      Finney assumed this document

described her benefits.2

        Based on Filyaw’s positive recommendation, Branham

interviewed Finney.       Finney alleges that during this interview,

which lasted only about fifteen minutes, Branham told her that

she would make six figures:

        A.   Right. I knew that it was like you said, 24,000
        base, the rest was commission, and I would make six
        figures.

        Q.   She didn’t promise you that you were going to
        make six figures?

        A.   She told me that I would likely make six figures
        and gave the example of her rep in Aiken, Alison
        Comer, who makes six figures.

    (Finney Depo. at 201-03)(emphasis added).

        However, Finney admitted that her potential income was

under her control:

        Q.   You understood that making six figures would be
        under your control, though; correct?

        A.   Of course.

(Id. at 203).
2
  Per the document’s title, this explanation of benefits applied only to those
sales representatives employed by companies acquired by Lincare. (Filyaw
Depo. at 92).
      Filyaw testified that she had never seen this document prior to its
production during litigation, and that if she had given the document to
Finney, it would have been by mistake. (Id. at 92-93). Filyaw did not
recall giving Finney any paperwork other than a job description and
remembered telling Finney only that there was health and dental insurance.
(Id. at 59).

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        Conversely, Branham testified that she told Finney that she

would receive a base salary of $24,000 and the opportunity to

earn “uncapped commission.”       (Branham Depo. at 33).       She denied

telling Finney she would earn six figures.           (Id. at 35).

        Branham and Finney also discussed Finney’s territory.

Finney assumed she was taking over Michelle Lake’s territory,

and Branham did not correct that statement.           (Finney Depo. at

252).    However, Finney was never promised a territory for any

specific period of time.       (Id. at 256).

B.      Position Accepted

        Lincare offered Finney the sales position, which she

accepted.3    On Finney’s first day, she received an employee

handbook, which detailed several policies and procedures,

including employee eligibility for benefits.           (Id. at 207).     It

provided that an employee was eligible for dental insurance

after one year of company service and health insurance after

ninety days of service.       (Doc. 12-6, at 3).

        Finney signed an acknowledgement that she read the

handbook.    The acknowledgement expressly stated that it did not

create an employment contract for a specified time period, that

Lincare reserved the right to change the policies contained




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  At that time, she had received only one other employment offer, which she
declined when she accepted Lincare’s offer. (Id. at 225).


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therein, and that such changes could be implemented even if not

communicated to employees.4       (Doc. 12-4, Acknowledgment, at 29).

      Finney also received a commission structure that detailed

her base salary, the commissions paid on types of sales, and

when the commission would be paid.5         (See Finney Depo. at 27-28).

The commission structure did not reference a six-figure income.

C.    Issues Arise

      After Finney began working, she had several complaints

regarding her employment, but the primary complaint was her

salary.   Based on her interviews, Finney believed she would earn

six figures.    Then, during a training session, Finney was shown

a slide reflecting that the possible salary for her territory

was $87,840.    (Id. at 239); (Doc. 12-3, at 14).

      However, after beginning to make sales calls, Finney

quickly concluded that these salary projections were unrealistic

because there was not enough business in the territory.             (Finney

Depo. at 240).

      Other former sales representatives for Lincare also

testified that Branham had told them they would make six


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  Finney admitted that, although she has read parts of the handbook, she has
not read it word for word. (Finney Depo. at 208).
5
  Although Branham testified that she routinely gives all interviewees a copy
of the job description, the commission structure, and a benefit summary, she
could not recall whether she provided these documents to Finney. (Branham
Depo. at 32). Finney testified that she did not receive the commission
structure until after she had accepted the offer. (Finney Depo. at 202).
For purposes of this Motion, the Court accepts Finney’s testimony that she
did not receive the commission structure until after she was hired.

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figures, which they also concluded was unrealistic.            Sharon

Faulk (“Faulk”) and Tim Whitis (“Whitis”) previously worked as

sales representatives for Lincare.6         Both submitted affidavits

averring that Branham told them they would earn six figures as a

sales representative.      (Id., Faulk Aff., at ¶ 2); (Id., Whitis

Aff., at ¶ 3).     Faulk further testified that Branham stated that

other sales representatives earned this salary, including

Allison Comer.     (Id., Faulk Aff., at ¶¶ 2-3).        However, Faulk

confirmed with Comer that this statement was false, and both

Faulk and Whitis testified that no other South Carolina

representatives made six figures.         (Id., Faulk Aff., at ¶ 6);

(Id., Whitis Aff., at ¶ 5).       The most Faulk could recall earning

was $70,000.    (Id., Faulk Aff., at ¶ 5).

      However, both Branham and Filyaw testified that a sales

representative from Asheville earned six figures.            (See Branham

Depo. at 36); (Filyaw Depo. at 58).

      Finney was also dissatisfied with her territory.           After she

began, she learned that she would not have Michelle Lake’s

territory and instead would be splitting territory with another

representative.     (Finney Depo. at 241).7


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  Both were terminated from Lincare’s employ for misconduct. (Doc. 37, Faulk
Aff., at ¶ 8); (Id., Whitis Aff., at ¶ 8).
7
  Finney conceded that this representative was actually employed by Lincare
first, and so he was splitting his territory with her. (Id.). After this
representative left, which was shortly after Finney began, she took over his
territory. (Id. at 249).

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        Finney further learned that she was not immediately

eligible for health insurance or dental insurance.            (Id. at

248).    As a result, she incurred expenses for several

appointments and pharmacy prescriptions.          (Id. at 262-63).

        Additionally, Finney discovered that she would not be

receiving the standard federal rate of reimbursement for

mileage, and that the reimbursement rate changed after a certain

number of miles.     (Id. at 206, 259).

        After approximately eight months, Finney resigned, feeling

that she was being “set up to look like a non-producer.”             (Id.

at 264).    Despite the fact that she was a “top” sales

representative,8 she only earned $30,000 during her employment

with Lincare.9

D.      Procedural History

        Finney filed this action in state court on April 25, 2011,

and Lincare removed on June 8, 2011.         (Doc. 1).     The instant

Motion for Summary Judgment was filed on December 29, 2011.

        After hearing oral argument, the Court permitted the filing

of supplemental evidence.       Finney filed two affidavits (see Doc.


8
  Finney admitted that Lincare never formally recognized her as one of its
tops sales representatives. (Id. at 223-24). Her statement is based on
recognition given to her by her managers and her comparison of her
performance to that of other sales representatives. (Id.).
9
  Finney was in training during the first two months of her employment, and so
she only actually worked her territory for six months. (Filyaw Aff. at ¶
26). Additionally, Lincare contends that Finney took a lot of unpaid time
off. (Filyaw Depo. at 102).


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37), and Lincare filed a Motion to Strike one of the affidavits

(Doc. 38), as well as a supplemental memorandum addressing

several points discussed during oral argument (Doc. 39).

                             Analysis

A.   The Summary Judgment Standard

     Rule 56(a) of the Federal Rules of Civil Procedure provides

in relevant part that: “[t]he court shall grant summary judgment

if the movant shows that there is no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter

of law.”   Fed. R. Civ. P. 56(a).

     Under Rule 56, the moving party bears the burden of proving

that no genuine issue of material fact exists, and the court

must construe the evidence and draw all reasonable inferences in

favor of the nonmoving party.     Matsushita Elec. Indus. Co. v.

Zenith Radio Corp., 475 U.S. 574, 586-87 (l986).    Ultimately,

the court must determine whether the evidence presents a

sufficient disagreement to require submission to a jury or

whether it is so one-sided that one party must prevail as a

matter of law.   Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

251–52 (1986).

B.   Lincare’s Motion to Strike

     Lincare moves to strike the affidavit of Sharon Faulk on

the basis that Faulk was never identified as a potential witness

as required by Federal Rule 26(a)(1)(A)(i), nor did Finney

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supplement the disclosures to identify Faulk as a witness as

required by Rule 26(e).

     Rule 37(c)(1) prohibits a party from using evidence that it

failed to provide during discovery unless the failure was

substantially justified or is harmless.   The Fourth Circuit

provides five factors to consider when determining whether such

evidence should be excluded under Rule 37(c)(1):    (1) surprise,

(2) ability to cure the surprise, (3) extent to which allowing

the evidence disrupts the trial, (4) importance of the evidence,

and (5) the nondisclosing party’s explanation for failure to

disclose.    See Blankson-Arkoful v. Sunrise Senior Living Servs.,

Inc., 449 F. App’x 263, 265 (4th Cir. 2011).

     Several of these factors weigh against considering the

affidavit.   Because Finney failed to identify Faulk as a

potential witness in this case, her affidavit is a surprise to

Lincare.    As discovery has closed, Lincare cannot depose Faulk,

which precludes Lincare from curing the surprise.

     However, the affidavit appears to be largely duplicative of

other evidence already in the record.   Accordingly, while

Lincare might not have known that Faulk was a potential witness,

it had notice of the type of evidence offered by Faulk in her

affidavit.   Therefore, Finney’s failure to identify Faulk as a

witness was harmless, and the Motion to Strike is denied.




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C.   Finney’s Claims

     Finney asserts seven causes of action in her Complaint:

(1) negligent misrepresentation; (2) fraud; (3) constructive

fraud; (4) failure to pay commissions; (5) breach of contract;

(6) breach of contract accompanied by a fraudulent act; and (7)

unjust enrichment.

     1.    Negligent Misrepresentation, Fraud, and Constructive
           Fraud Claims

     Finney’s tort claims are based on four representations

allegedly made during her interviews.10         These representations

relate to Finney’s:      (1) salary; (2) territory; (3) mileage

reimbursement rate; and (4) eligibility for benefits.

     To establish a claim of negligent misrepresentation, a

plaintiff must demonstrate that: (1) a false representation was

made, (2) the defendant had a pecuniary interest in making the

statement, (3) the defendant owed a duty of care to communicate

truthful information, (4) the defendant breached this duty, (5)

the plaintiff justifiably relied on the representation, and (6)

the plaintiff suffered a pecuniary loss as a result of her

reliance on the representation.        See Sauner v. Pub. Serv. Auth.

of S.C., 581 S.E.2d 161, 166 (S.C. 2003).

     To establish a claim of fraud, a plaintiff must

demonstrate: (1) a representation, (2) that was false, (3) and

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  While Lincare disputes whether these representations were made, for
purposes of this motion, Finney’s version of events must be accepted.

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material, (4) that defendant knew of the falsity or acted with

reckless disregard as to its truth or falsity, (5) and intended

that the plaintiff would act upon the representation, (6)

plaintiff was ignorant of its falsity, (7) relied on its truth,

(8) had the right to rely thereon, and (9) was injured as a

result of this reliance.11      See Turner v. Milliman, 708 S.E.2d

766, 769 (S.C. 2011).

     Because Finney fails to establish at least one of the

elements as to each of her claims, summary judgment as to these

claims is appropriate.

           a.    Representation that is False

     Under each of these claims, a plaintiff must demonstrate a

representation that was false.       See id. at 770.      “The general

rule is that [torts based on misrepresentation] must relate to a

present or pre-existing fact, and cannot ordinarily be

predicated on unfulfilled promises or statements as to future

events.”   Tom Hughes Marine, Inc. v. Am. Honda Motor Co., Inc.,

219 F.3d 321, 324-25 (4th Cir. 2000)(quoting Woodward v. Todd,

240 S.E.2d 641, 643 (S.C. 1978)).         An exception to this rule

exists if the plaintiff can demonstrate that the defendant never

intended to fulfill its promise, rendering the representation

false when made.     See id.; Turner, 708 S.E.2d at 770.


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  To establish a claim of constructive fraud, a plaintiff must demonstrate
all elements of actual fraud except intent. See Woods v. State, 431 S.E.2d
260, 263 (S.C. Ct. App. 1993).

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     First, as to Finney’s claim that Lincare represented that

she would earn $.31 per mile, she provides no evidence that

Lincare made any representation regarding her mileage

reimbursement rate.   In fact, Finney’s testimony was that she

assumed that she would receive the federal mileage rate.

(Finney Depo. at 197).   Based on Finney’s testimony, Lincare

never represented that Finney would be reimbursed for mileage at

a specific rate, and Finney’s claims based on her mileage rate

must fail.

     The other statements on which Finney bases her claims,

those regarding her salary, benefits, and territory, relate to

the future terms of Finney’s employment.   As these statements

relate to future events, they are not actionable.   See Tom

Hughes Marine, Inc., 219 F.3d at 325 (concluding statements

promising exclusivity to a dealer concerned a future event and

thus were not actionable); Sauner, 581 S.E.2d at 167 (finding

that a statement that a defendant would take certain steps in

the future was not actionable); Jones v. Cooper, 109 S.E.2d 5,

10 (S.C. 1959) (deciding that statements regarding a possibility

of profit constituted mere opinion and thus was not actionable).

     Additionally, the exception regarding representations of

future events does not apply because Finney provides no evidence




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that the statements regarding her salary, benefits, or territory

were false when made.12

     With regards to the alleged representation that Finney

would make six figures, the record reflects that at least one

sales representative in the region had earned six figures, and

so Branham’s statement that other representatives could also

reach this goal cannot be deemed false when made.13

     During the telephonic hearing, Finney made much of the fact

that Branham used Allison Comer as an example of a

representative who made such a salary, which she contends is

false.   Accepting Finney’s contention that Comer did not, in

fact, earn six figures,14 the record demonstrates that at least

one sales representative did earn six figures, and Finney offers

no evidence to refute this testimony.15         Therefore, the fact that


12
  Finney even testified that she believed Branham’s statements regarding her
sales position were based on “honest opinions.” (Finney Depo. at 203).
Therefore, these statements were not false when made. See Tom Hughes Marine,
219 F.3d at 326 (recognizing that the plaintiff’s testimony that he had no
information regarding the defendant’s intent at the time the statements were
made defeated his contention that the statements were false when made).
13
  Moreover, Finney’s testimony that Branham stated that “[Finney] would
likely make six figures” is more akin to a statement of opinion, not of fact,
which is not actionable. See Bishop Logging Co. v. John Deere Indus. Equip.,
455 S.E.2d 183, 187 (S.C. Ct. App. 1995) (recognizing that the representation
must be a statement of fact, not opinion).
14
  While Finney contends that Comer never made six figures, she supports this
contention only with statements by other employees that Comer stated she did
not earn six figures. However, that testimony is hearsay. Because Finney
failed to provide an affidavit from Comer, the record does not definitively
reflect that Comer did not, in fact, make six figures.
15
  Finney’s supplemental affidavits both state that no other South Carolina
sales representative made six figures. Even accepting these statements as
true, the representative named by Branham and Filyaw was from Asheville,

                                     13
Comer did not earn six figures is irrelevant because at least

one other sales representative did.

      Furthermore, Branham never promised that Finney would earn

six figures in her first year.        Finney was admittedly there less

than a year, so it is unclear what she would have actually made

during that first year and in the years to follow.            Presumably,

there is a learning curve to the position and establishing her

presence in the territory would likely require some time.

Finally, nothing demonstrates that Lincare did not intend to pay

Finney six figures if her sales justified such commissions.

Therefore, Finney fails to establish the statement regarding her

salary was false when made.

      Additionally, the alleged misrepresentation regarding

Finney’s eligibility for benefits is based only on a document

received during her first interview.         Assuming that providing

Finney with this document constituted a representation, the

document appears to correctly reflect Lincare’s policy as to

benefits for acquired employees, as stated by the document’s

title.   Therefore, as the information contained in the document

was true, these representations were not false.

      Finney also provides no evidence that any statements

regarding her territory were false when made.           Finney’s argument

that Lincare’s decision to split her territory with another

which is in North Carolina, and so these affidavits do not refute the
testimony that at least one sales representative earned six figures.

                                      14
representative demonstrates that the statement regarding her

territory was false when made fails.   As Finney’s complaint

relates to the geographic location of her territory, not that it

was shared with another representative, Lincare’s decision to

establish two representatives in a given territory in no way

establishes that any representations as to Finney’s potential

territory were false when made.

     Because Finney fails to establish that any of the

statements regarding her salary, eligibility for benefits, or

territory were false when made, these statements relate to

future events and are thus not actionable.

          b.   Unjustified Reliance

     Additionally, even if these statements were actionable,

Finney’s reliance on these representations was not justified.

     It is well-settled that when the truth of potential

misrepresentations is within the reach of the plaintiff, she has

no right to rely on the representation.   See Jones, 109 S.E.2d

at 11. “There is no liability for casual statements,

representations as to matters of law, or matters which plaintiff

could ascertain on his own in the exercise of due diligence.”

AMA Mgmt. Corp. v. Strasburger, 420 S.E.2d 868, 874 (S.C. Ct.

App. 1992).

     With regard to the statement that she would make six

figures, Finney received her commission structure upon beginning

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with Lincare.    That structure did not promise six figures; it

merely stated she would be paid a base salary plus commissions.

After receiving this commission structure, which clearly

provided her compensation structure, Finney had no right to rely

on a casual statement made once during a short interview.

     Moreover, Finney’s admission that her salary was within her

control renders any reliance on the “six figures” statement

unjustifiable.   Finney had worked in sales previously and was

familiar with the fact that salaries of sales representatives

largely depend on the sales made.     In fact, she testified that

she “knew that [she] had the opportunity to control [her] own

financial destiny,” which was what appealed to her about sales.

(Finney Depo. at 12).   Nothing suggests that she was limited in

her ability to earn sales.   (See Doc. 39-3, Job Description, at

2) (noting one of her responsibilities was to develop referral

sources).   Therefore, her admission that her salary was within

in her control renders reliance on the representation she would

make six figures unjustified.

     With regards to Finney’s eligibility for benefits, the

employee handbook expressly detailed the timing of her

eligibility for benefits, and Finney has conceded that she had

access to this information early in her employment.    (Finney

Depo. at 218-19).   She also admitted confusion as to the title

of the benefits document received during her first interview,

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yet she never sought clarification of its application to her.

(Id. at 243).    Had she taken steps to protect her interests by

either reading the handbook or seeking clarification, she could

have obtained health insurance through an alternative source or

delayed medical expenses.   Lincare cannot be held liable for

Finney’s failure to protect her own interests.      See AMA Mgmt.

Corp., 420 S.E.2d at 874.

     Furthermore, it was not reasonable for Finney to rely on

any representation regarding her sales territory.     The record

includes testimony that territories can change constantly, (see

Doc. 39-5, Payne Aff., at ¶ 9), and Finney admits that she was

never promised a territory for a specific time period.     (Finney

Depo. at 256).   Therefore, even if Finney was originally told

that she would receive Michelle Lake’s territory, she was not

justified in assuming that this territory assignment would last

for any specific period of time.

     Therefore, as Finney fails to demonstrate the existence of

an actionable false representation or justified reliance, her

claims of negligent misrepresentation, fraud, and constructive

fraud fail.

     2.    Failure to Pay Commissions Claim

     Finney asserts that she is owed commissions under the Sales

Representatives Act (“the Act”).      See S.C. Code Ann. §§ 39-65-10

to -80.   The Act requires payment of all commissions owed under

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a contract between a sales representative and a principal.     See

id. § 39-65-20.

     A “principal” is one who: “(a) manufactures, produces,

imports, or distributes a tangible product for wholesale;      (b)

contracts with a sales representative to solicit orders for the

product; and (c) compensates the sales representative, in whole

or in part, by commission.”   Id. § 39-65-10(3).

     A “sales representative” is one who: “(a) contracts with a

principal to solicit wholesale orders; (b) is compensated, in

whole or in part, by commission; (c) does not place orders or

purchase for his own account or for resale; and (d) does not

sell or take orders for the sale of products to the ultimate

consumer.”   Id. § 39-65-10(4).

     Although not defined by the Act, the South Carolina Court

of Appeals has interpreted the term “wholesale” to mean “[t]he

sales of goods or commodities [usually] for resale by a

retailer, as opposed to a sale to the ultimate consumer.”     Lee

v. Thermal Eng’g Corp., 572 S.E.2d 298, 304 (S.C. Ct. App. 2002)

(quoting Black’s Law Dictionary 1591 (7th ed. 1999)).    The court

concluded that this statute narrowly applies only to sales

representatives soliciting wholesale orders.   See id.

     In light of this narrow interpretation, Finney is not a

“sales representative” because she did not solicit wholesale

orders.   Instead, she solicited referrals from doctors for the

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sale of oxygen and other respiratory equipment to the ultimate

consumers: the patients.       Therefore, because the sale was to the

ultimate consumer, Finney falls squarely outside the definition

of “sales representative,”16 and this claim fails.

     3.    Breach of Contract Claim

     Finney also asserts a breach of the contract created by

“the Employee Handbook, Benefit Plan Summary, Salary and

Commission Projections, and other orally communicated

materials.”    (Complaint at ¶ 38).

     South Carolina follows the general theory of at-will

employment.    See Mathis v. Brown & Brown of S.C., Inc., 698

S.E.2d 773, 778 (S.C. 2010).       When the employment contract is

one for an indefinite term, it is usually a unilateral

contract,17 and all terms and conditions of employment can be

changed prospectively.      See Wadford v. Hartford Fire Ins. Co.,

CIV. A. 3:87-2872-15, 1988 WL 492127, at *4 (D.S.C. Aug. 11,

1988); Facelli v. Se. Mktg. Co., 327 S.E.2d 338, 339 (S.C.

1985).
16
  Even if the Act applied to Finney, she has failed to provide any evidence
that these commissions were actually owed to her. She argues only that
whether commissions are owed constitutes a question of fact for the jury.
However, at the summary judgment stage, Finney must provide evidence to
establish the existence of a triable issue of fact. See Fed. R. Civ. P.
56(c). Finney has offered nothing more than her testimony that such
commissions were owed, and thus she has failed to carry this burden.
17
  Unilateral contracts require: (1) a specific offer; (2) communication of
the offer to the employee; and (3) performance of the job duties in reliance
of the offer. See Small v. Springs Indus., Inc., 357 S.E.2d 452, 454 (S.C.
1987) (describing at-will employment as a unilateral agreement); Prescott v.
Farmers Tel. Coop., 516 S.E.2d 923, 926 (S.C. 1999) (recognizing that most
employment agreements are unilateral).

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        Under South Carolina law, to alter the at-will status, a

policy or representation must limit the duration of the

employment or the employer’s right to terminate.     See Wadford,

1988 WL 492127, at *4.

        Here, the employee handbook contained a clause expressly

stating it did not create an employment contract for a definite

period and further reserving the right to alter the policies at

any time.    (See Doc. 12-6).   Accordingly, the handbook did not

alter Finney’s at-will employment status.     See Toomer v. S.C.

Bank & Trust, Civ. Action No. 5:06-2337-RBH, 2008 WL 725792, at

*14 (D.S.C. Mar. 17, 2008) (concluding that an employee handbook

containing a disclaimer and lacking mandatory language did not

create an employment contract for a definite time).

        Therefore, because Finney was an at-will employee, the

terms of her employment could be changed prospectively at any

time.     See Wadford, 1988 WL 492127, at *4; Facelli, 327 S.E.2d

at 339.

        Regardless of what representations were made during

Finney’s interviews, when she began her employment, Finney

received information changing these terms.    Specifically, she

received:    (1) a commission structure explaining how she would

be compensated, which did not reference a six-figure salary; (2)

an employee handbook which detailed her eligibility for




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benefits;18 and (3) her territory assignment.          Finney signed both

this commission structure and the employee handbook,

acknowledging her receipt and understanding of the documents.19

       Finney’s performance after receiving these documents, which

changed the terms of her employment from what was described

during her interview, demonstrated her acceptance of Lincare’s

offer of employment on these terms.20         See Facelli, 327 S.E.2d at

339.    See also Matthews v. City of Greenwood, 407 S.E.2d 668,

670 (S.C. App. 1991) (concluding, in an at-will employment

situation, that an employee “impliedly consents to changed



18
  Furthermore, the document Finney allegedly received regarding benefits does
not constitute a term of the employment contract because it did not apply to
her. Per its title, it applied only to acquired employees, and it is
undisputed that she was not an acquired employee. See Wadworth, 1988 WL
492127, at *8 (recognizing that a document which plainly did not apply to the
plaintiff could not be construed as making a promise to that plaintiff).
19
  Finney’s contention that she was unaware of these changes does not affect
their applicability to her. She admits that she had access to this material,
and she even signed acknowledgements as to each. It is her responsibility to
read such documents, and the fact that she failed to do so does not provide a
basis for a breach of contract claim.
20
  Finney’s argument that by objecting to her salary she did not consent to
the term fails. See Matthews, 407 S.E.2d 668 (concluding that continued
employment, even while objecting to the changed term, constitutes acceptance
of the term in an at-will situation). Finney’s reliance on Mathis is
misplaced. In that case, the court concluded that the parties had an
employment contract for a definite time. See Mathis, 698 S.E.2d at 779.
Therefore, any modifications to that bi-lateral contract had to be supported
by consideration. See id.
      Additionally, while the Mathis court did conclude that there was a
genuine issue of fact as to whether Mathis consented to the compensation
reduction by continuing his employment because he objected to the reduction,
that conclusion was limited to the facts of the case. See id. at 780.
      In the case at hand, the employment agreement was not a bi-lateral
contract, but was rather a unilateral contract. Therefore, Finney’s
continued performance constituted acceptance of Lincare’s offer of employment
on Lincare’s choice of terms. See Facelli, 327 S.E.2d at 339.


                                      21
compensation by continuing to work under the new arrangement”

even if he initially complained about the change).

      Accordingly, as these were the terms Finney accepted

through her performance, there was no breach of contract,21 and

this claim must fail.22

      4.    Breach of Contract Accompanied by a Fraudulent Act

      As no breach of the contract occurred, this claim fails.

See Ball v. Canadian Am. Express Co., 442 S.E.2d 620, 623 (S.C.

Ct. App. 1994) (recognizing that to establish this claim, a

plaintiff must show fraudulent intent relating to the breach).

      5.    Unjust Enrichment

      Finney contends that she is entitled to recover the amount

of commissions that were improperly paid to another sales

representative and the value of the benefits which were

improperly delayed under a theory of unjust enrichment.23

21
  In light of this conclusion, the Court will not address the parties’
argument that the benefit summary was not a term of the contract due to
mistake.
22
  To the extent Finney argues that the mileage reimbursement rate constitutes
a breach of contract, because Lincare made no representations to Finney as to
her reimbursement rate, the rate in place at the time Finney began
performance constitutes the term of the contract.
      Additionally, in her Complaint, Finney contends that Lincare breached
the employment contract by incorrectly allocating customers developed by
Finney to another representative and failing to pay Finney owed commissions.
Even assuming that these are terms of the contract, Finney fails to provide
any evidence that Lincare either incorrectly allocated customers or owes
Finney commissions. See Fed. R. Civ. P. 56(c) (providing that a party must
provide evidence supporting her claims and cannot rely on mere assertions).
23
  To recover under this theory, a plaintiff must demonstrate: (1) conferral
of a nongratuitous benefit on the defendant; (2) the defendant realized some
value from the benefit; and (3) it would be inequitable to allow the
defendant to retain the benefit without paying the plaintiff its value. See

                                      22
      However, Finney fails to provide any evidence, other than

mere assertions, that she is owed commissions, which is

insufficient to survive a motion for summary judgment.             See Fed.

R. Civ. P. 56(c); Allstate Fin. Corp. v. Financorp, Inc., 934

F.2d 55, 58 (4th Cir. 1991).       Additionally, Lincare provided

Finney with health insurance when she was eligible per the

policy provided in the employee handbook.          Therefore, the

benefits were not delayed, and Lincare’s actions were consistent

with the applicable provisions of the employee handbook.

Therefore, this claim fails.

                                 Conclusion

      Therefore, having reviewed this matter, and the Court being

otherwise sufficiently advised,

      IT IS ORDERED that Lincare’s Motion to Strike (Doc. 38) be,

and is hereby, DENIED.      IT IS FURTHER ORDERED that Lincare’s

Motion for Summary Judgment (Doc. 12) be, and is hereby,

GRANTED.   A separate judgment shall enter concurrently herewith.

      This 1st day of May, 2012.




Moore-Hudson Oldsmobile/GMC, Inc. v. Waterman, 378 S.E.2d 279, 280 (S.C. Ct.
App. 1989).

                                      23
